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UNITED STATES DISTRICT COURT
NORTHERN DIS'I`RICT OF FLORIDA

TALLAHASSEE DIVISION
CASE NO: 4:l l-CV-OOSB'/’-RS/WCS
JAMES HARDEN and
ESTELLA HARDEN,

Plaintiffs,
vs.

BLUE FLASH EXPRESS, LLC.
and JAMES R. sMITH,

Defendants.
/

 

STIPULATION FOR DISMISSAL

An amicable settlement of all matters and things in dispute between the parties hereto
having been made, it is hereby:

STIPULATED AND AGREED by and between the respective parties hereto that the
above cause may be dismissed with prejudice, and each party is to bear their own costs and
attorneys’ fees', all liens and subrogated interests to be paid by the Plaintiff out of the proceeds of

the settlement herein

DATED:hiS Z_§t/ day of Jr//z ,2012.

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